Case
 Case2:18-cv-11693-WJM-MF
      2:18-cv-11693-WJM-MF Document
                            Document65-3
                                     54 Filed
                                         Filed09/09/20
                                               03/24/21 Page
                                                         Page11ofof44PageID:
                                                                      PageID:421
                                                                              958




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




  JASON JORJANI,                                        Civil Action No.: 18-11693 (WJM)

             Plaintiff,
  v.

  NEW JERSEY INSTITUTE OF
  TECHNOLOGY, et al.,

           Defendants.
  _____________________________________
                                                         Civil Action No.: 20-1422 (WJM)

  JASON JORJANI,

               Plaintiff,

  v.

  FADI P. DEEK, et al.,                                              ORDER

              Defendants.


        THESE MATTERS come before the Court upon a review of its docket and upon the

 submission of letters from counsel containing argument over a briefing schedule for a discovery

 dispute;

        and the above cases, despite being relatively new matters, having a history of discovery

 issues, some of which is necessary to repeat here;

        and, to start, the Court having held a discovery hearing, on the record, on May 5, 2020,

 and having entered an Order resolving a number of issues;



                                                −1−
Case
 Case2:18-cv-11693-WJM-MF
      2:18-cv-11693-WJM-MF Document
                            Document65-3
                                     54 Filed
                                         Filed09/09/20
                                               03/24/21 Page
                                                         Page22ofof44PageID:
                                                                      PageID:422
                                                                              959




          and despite the May 5 hearing, the parties continued to have disputes, which required the

 Court to enter an Order on May 21, which scheduled an additional discovery hearing for July 31,

 2020, and directed the parties to consolidate their discovery disputes and submit 25 page double

 spaced letters by July 20, ten days in advance of the hearing;

          and among these disputes discussed on May 5, 2020, but not yet fully briefed, was the

 issue of whether Plaintiff appropriately used discovery in the first filed case, 18-11693 (WJM),

 in the preparation and filing of the second case, 20-1422 (WJM);

          and, shortly before the July 20 date for the submission of letter briefs, the parties having

 submitted letters to the Undersigned raising a new dispute regarding the attorney-client privilege

 and, at least Plaintiff, having expressed that the new dispute should be briefed independent of

 any other discovery issues;

          and the Court having held a conference by telephone on July 21, 2020, to discuss the

 substance of the newly presented privilege dispute;

          and, during the July 21 conference, the Court having directed counsel to confer and

 submit a proposed schedule to brief their issues;

          and on July 22, the Court having adjourned the July 20 hearing and re-scheduled it for

 September 23, 2020;

          and by letters dated August 18, August 18, August 19, and August 19, the parties having

 written to the Court with a disagreement over a briefing schedule,

          and the parties having never submitted the discovery letters contemplated by the May 21

 Order;

          and the Court having considered the recent letters, the history of the cases, the briefing


                                                  −2−
Case
 Case2:18-cv-11693-WJM-MF
      2:18-cv-11693-WJM-MF Document
                            Document65-3
                                     54 Filed
                                         Filed09/09/20
                                               03/24/21 Page
                                                         Page33ofof44PageID:
                                                                      PageID:423
                                                                              960




 that needs to be accomplished, the parties’ inability to agree on a schedule, and the state of the

 Court’s docket in light of the COVID-19 pandemic and the judicial emergency present in this

 District; and upon consideration of how best to proceed;

        IT IS on this 9th day of September 2020,

        ORDERED that, the parties shall submit their discovery issues in two separate

 applications.

        1. The parties are directed to submit all discovery and case management issues, other
        than the attorney-client privilege dispute, by letter motion not to exceed 40 double spaced
        pages. The submission may be supported by attorney certifications – of a reasonable
        length – if necessary. However, the letter submissions shall not seek to incorporate prior
        letters or filings by reference – the entire dispute shall be set forth clearly in the 40 pages
        allowed. Plaintiff shall proceed first and submit their letter by September 29, 2020.
        Defendant may respond by October 12, 2020. No reply papers will be accepted. Any
        discovery or case management issue not presented in these letters is waived. The letters
        are to be sent directly to mf_orders@njd.uscourts.gov


        2. The privilege dispute shall be submitted by separate and standalone letters,
        themselves not to exceed 30 double spaced pages. Plaintiff shall proceed first and
        submit their opening attorney-client privilege letter on or before September 29, 2020.
        Defendants shall submit any opposition by October 20, 2020. Plaintiff may submit a
        reply no more than 10 double-spaced pages by October 27, 2020. All filings shall be
        sent to mf_orders@njd.uscourts.gov


        AND IT IS FURTHER ORDERED that, the discovery conference scheduled for

 September 23, 2020, is adjourned without date. There shall be a telephone conference before

 the Undersigned on October 30, 2020, at 10:00 a.m. to address scheduling and other case

 management issues;

        AND IT IS FURTHER ORDERED that, the motion to seal filed in 20-1422 (WJM)

 [ECF No. 2&16] and the cross-motion to unseal [ECF No. 18] are administratively terminated

 pending the October 30, 2020 telephone conference and the scheduling of further proceedings.

                                                 −3−
Case
 Case2:18-cv-11693-WJM-MF
      2:18-cv-11693-WJM-MF Document
                            Document65-3
                                     54 Filed
                                         Filed09/09/20
                                               03/24/21 Page
                                                         Page44ofof44PageID:
                                                                      PageID:424
                                                                              961




 The Clerk’s Office is requested to keep the contested filings under seal pending further

 order of this Court.



                                           s/Mark Falk
                                           MARK FALK
                                           United States Magistrate Judge




                                             −4−
